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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                                CASE NO.

  UNITED STATES OF AMERICA,

                 Plaintiff,

  v.

  REAL PROPERTY LOCATED AT 18555
  COLLINS AVENUE, UNIT 2205, SUNNY ISLES
  BEACH, FLORIDA 33160, et al.,

                         Defendants In Rem.
                                                       /

                                       NOTICE OF ACTION

  To:    PALADIUM REAL ESTATE GROUP LLC, AND ALL OTHER PERSONS WHO MAY
         CLAIM AN INTEREST IN THE DEFENDANT PROPERTY.

         1.      DATE NOTICE SENT: ___________________

         2.      FORFEITURE COMPLAINT: On or about October 15, 2019, the United States of

  America filed a Verified Complaint for Forfeiture In Rem seeking forfeiture of, among other assets,

  real property located at 18555 Collins Avenue, Unit 2205, Sunny Isles Beach, Florida 33160,

  UNITED STATES (the “Defendant Property”), including all buildings, fixtures, appurtenances,

  improvements, attachments and easements found therein or thereon, which is more fully described

  as:

                 Unit 2205 of 18555 Collins Avenue Condominium, a Condominium
                 according to the Declaration of Condominium thereof, recorded on,
                 December 13, 2012 in Official Records Book 28399, Page 2439 of
                 the Public Records of Miami-Dade County, Florida and all
                 amendments thereto, together with its undivided share in the
                 common elements.

                 Parcel ID No. 31-2202-050-1010.
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         3.      FILING OF A VERIFIED CLAIM: Pursuant to Rule G(5)(a)(ii) of the

  Supplemental Rules for Admiralty or Maritime Claims and Asset Forfeiture Actions, in order to

  avoid forfeiture of the Defendant Property, any person who asserts an interest in the Defendant

  Property must file a verified claim within 35 days after the date of this Notice is sent or the date

  of delivery, if personally served.

         4.      CONTENTS OF VERIFIED CLAIM: Pursuant to Rule G(5)(a), the claim must (A)

  identify the specific property claimed; (B) identify the claimant and state the claimant’s interest in

  the property; and (C) be signed by the claimant under penalty of perjury (see 28 U.S.C. § 1746).

         5.      FILING OF AN ANSWER: If you file a verified claim, you must then file an

  answer to the complaint or a motion under Rule 12 of the Federal Rules of Civil Procedure within

  21 days after filing the verified claim.

         6.      FILING WITH COURT AND SERVICE ON UNITED STATES: The verified

  claim and answer must be filed with the Office of the Clerk of the Court, United States District

  Court for the Southern District of Florida, Wilkie D. Ferguson, Jr., U.S. Courthouse, 400 North

  Miami Avenue, Room 8N09, Miami, FL 33128, and a copy of the claim and answer or motion,

  with any attachments, must be sent to the undersigned counsel, Danielle Croke and Nicole

  Grosnoff, Assistant United States Attorneys, 99 N.E. 4th Street, 7th Floor, Miami, FL 33132.

         7.      In accordance with 18 U.S.C. § 985(c)(1)(B), this Notice shall be posted on the

  Defendant Property and served on the title owner, along with a copy of the Verified Complaint for

  Forfeiture In Rem.

         Failure to follow the requirements set forth above may result in judgment by default

  taken against you for relief demanded in the Verified Complaint for Forfeiture In Rem. You

  may wish to seek legal advice to protect your interests.
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                                            Respectfully submitted,

                                            ARIANA FAJARDO ORSHAN
                                            UNITED STATES ATTORNEY

                                     By:    /s/ Danielle Croke
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                                            /s/ Nicole Grosnoff
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